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                        Exhibit 7
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                                                                            Review

    1                IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
    2                          EASTERN DIVISION
    3
         IN RE NATIONAL PRESCRIPTION           | MDL No. 2804
    4                                          |
         OPIATE LITIGATION                     | Case No. 17-MD-2804
    5                                          |
         APPLIES TO ALL CASES                  | Hon. Dan A. Polster
    6
    7                                - - -
    8                      Wednesday, April 24, 2019
    9                                - - -
   10
                      CONFIDENTIAL - SUBJECT TO FURTHER
   11
                              CONFIDENTIALITY REVIEW
   12
                                        - - -
   13
                                       Volume 2
   14
   15
                 VIDEOTAPED DEPOSITION of MATTHEW PERRI, III,
   16    BS Pharm, Ph.D., RPh, held at Jones Day,
         1420 Peachtree Street, N.E., Suite 800, Atlanta,
   17    Georgia, commencing at 8:35 a.m., on the above date,
         before Susan D. Wasilewski, Registered Professional
   18    Reporter, Certified Realtime Reporter and Certified
         Realtime Captioner.
   19
   20
   21                               - - -
   22                     GOLKOW LITIGATION SERVICES
   23                877.370.3377 ph | 917.591.5672 fax
   24                          deps@golkow.com
   25

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                                                    Page 593                                                       Page 595
   1   document that language comes from?                        1   therapy, and proper dispensing and storage are
   2     A. I would have to see the document to make             2   appropriate measures that help to limit abuse of
   3   sure, but -- I mean, I don't remember the specific        3   opioid drugs."
   4   document.                                                 4     Q. Okay. And I told you you were going to need
   5     Q. Okay. I'll show it to you. Let's mark this           5   Exhibit 29 again. That was the one I said to keep
   6   Exhibit 30.                                               6   close at hand. If you look at page 15 of that
   7     A. Oh, yeah.                                            7   document, this is Section 9.2, it's titled "Abuse."
   8        (Perri Exhibit 30 was marked for                     8     A. Okay.
   9   identification.)                                          9     Q. Could you please read the second full
  10   BY MS. ZOLNER:                                           10   paragraph under 9.2?
  11     Q. This document is titled: Objection Handling         11     A. "Drug abuse is the intentional and
  12   Workshop, Training Class July 7th and 8th, 2010.         12   nontherapeutic use -- "
  13        Correct.                                            13     Q. Actually, I'm sorry, I don't want you to
  14     A. Yes.                                                14   read something that you don't need to read. That is
  15     Q. In going back to your report, you explain in        15   not the right section.
  16   Paragraph 135, Note 264 -- it's a footnote to            16        Next page. Sorry about that. This is the
  17   Paragraph 135, that: "Sales personnel were trained       17   second full paragraph at the top of the next page,
  18   on how to handle objections to multiple issues,          18   right before you get to Section 9.3, Dependence.
  19   including concerns over addiction. See, e.g.,            19     A. "Proper assessment of the patient, proper
  20   Kadian objection handler ACTAVIS0003698."                20   prescribing practices, periodic reevaluation of
  21        And I think my question is a simple one. Is         21   therapy, and proper dispensing and storage are
  22   the Objection Handling Workshop document that we         22   appropriate measures that help to reduce abuse of
  23   just marked Exhibit 30 the type of training              23   opioids."
  24   presentation that you're talking about in Paragraph      24     Q. Do you agree that the statement that you
  25   135?                                                     25   cited from the Objection Handling Workshop,
                                                     Page 594                                                      Page 596
   1        MR. CHALOS: Object to the form.                      1   Exhibit 30, comes directly from the Kadian
   2      A. Yes.                                                2   prescribing information that we marked as
   3      Q. Earlier in your report, on Paragraph --             3   Exhibit 29?
   4   under Paragraph 89 you have a Note 169 where you          4     A. Yes.
   5   explain that: "Handling objections and reducing           5         MR. CHALOS: Object to the form. I'm sorry.
   6   concerns prescribers may have about a medication is       6     I lost you. Where did you say he -- I'm back
   7   a staple of sales training and development."              7     on -- I may be a few questions behind. Where did
   8        Let me know when you are there. I'm sorry.           8     he cite that in his report?
   9   I thought you were already on Paragraph 89. I'm           9         MS. ZOLNER: Where did he cite what?
  10   looking specifically at Note 169.                        10         MR. CHALOS: That sentence you just had him
  11      A. Yes, I'm there.                                    11     read.
  12      Q. Looking again at Exhibit 30, I'm just asking       12         MS. ZOLNER: The sentence that I just read
  13   you to compare and contrast your report with what        13     was cited in his report in Paragraph 1 -- oh,
  14   I've marked as Exhibit 30, the Objection Handling        14     101.
  15   Workshop. If you turn to Page 8 of this document,        15         MR. CHALOS: Page 101?
  16   Exhibit 30, you see the statement you cited about        16         MR. CIULLO: Yes.
  17   proper assessment of the patient, right? And it's        17         MR. CHALOS: Okay. Sorry. I'm just
  18   the page that begins with -- says at the top:            18     having -- you're moving quickly through your
  19   "Objection 4. I'm concerned about the abuse              19     outline. I'm having trouble keeping up. Page
  20   potential of Kadian."                                    20     101.
  21      A. Right.                                             21   BY MS. ZOLNER:
  22      Q. Again, if you could just read that first           22     Q. Dr. Perri, again, not to be repetitive, but
  23   bullet.                                                  23   can you identify a single specific physician or
  24      A. "Proper assessment of the patient, proper          24   prescriber in Cuyahoga or Summit County to whom
  25   prescribing practices, periodic reevaluation of          25   Actavis communicated any of the statements in any

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   1   version of the Kadian learning system?                     1   Actavis, correct?
   2     A. I did not -- I did not undertake that                 2     A. Well, this kind of goes along with what I
   3   specific analysis, but I know from the testimony and       3   was saying yesterday, that -- when I was asked
   4   the documents in this case that the marketing plans        4   another question along these same lines, that, you
   5   and the marketing documents that I saw were                5   know, the fact that I can't link a specific
   6   distributed nationally and used even locally in            6   advertisement to a specific doctor doesn't mean that
   7   Ohio.                                                      7   the advertisements weren't present in the
   8     Q. Do you know that these documents that we've           8   marketplace, it doesn't mean the doctors didn't see
   9   been looking at today were distributed in Cuyahoga         9   them, it just means that I haven't the tools at my
  10   and Summit Counties?                                      10   disposal to make that connection.
  11     A. Specifically this document, I don't have             11     Q. And you haven't made that connection,
  12   any -- anything that points to its actual use there       12   correct?
  13   other than, as I said, the testimony that the             13     A. I make the connection by virtue of the fact
  14   marketing plans and the marketing materials were          14   that I know these materials were used in Ohio and I
  15   developed nationally and implemented in Ohio.             15   know that doctors in Ohio saw them.
  16     Q. I think you're referring to what you've              16     Q. My question is a different one.
  17   referred to all day as some of the aggregate data         17         Can you identify any of the doctors who saw
  18   that you were referring to, right?                        18   them?
  19         MR. CHALOS: Object to the form.                     19         MR. CHALOS: Object to the form.
  20     A. There is actually a citation in my report I          20     A. Yeah, I mean, I can give you the -- I can
  21   think from -- quoting testimony from defendants that      21   give you doctors' names but it would be a
  22   specifically relates to this issue. So I can look         22   presumption that they did or didn't see it in any
  23   for that and point you to that if you need me to.         23   individual case.
  24     Q. I think my question is much more simple. I           24     Q. Okay. You talk about KOLs in your report.
  25   just want to know if you can identify any physician       25     A. Yes.
                                                    Page 598                                                          Page 600
   1 or prescriber in Cuyahoga or Summit who Actavis or           1     Q. And KOLs are key opinion leaders, right?
   2 Allergan communicated with with respect to anything          2   The acronym KOL stands for key opinion leader?
   3 related to Kadian marketing?                                 3     A. That's right.
   4     A. I guess I'm confused because it sounds like           4     Q. In your report you talk about how KOLs are
   5   to me that your question is asking me that if I say        5   influencers, right?
   6   no, I can't, then the conclusion that you would draw       6     A. Yes. I -- that's not my terminology
   7   from that is that none of the materials that we're         7   necessarily. That's either industry or in some of
   8   looking at today were used in Ohio and specifically        8   the defendants' terminology.
   9   to these counties, and that's not accurate.                9     Q. Understood. So in Paragraph 67 of your
  10     Q. My question is a yes-or-no question. Can             10   report, you include a quote: "Peer-to-peer
  11   you identify a single physician or prescriber in          11   marketing uses key opinion leaders, or influencers,
  12   either Cuyahoga or Summit County to whom Actavis or       12   and word of mouth to create an expanding awareness
  13   Allergan communicated any of the marketing                13   and more rapid adoption of new pharmaceuticals by
  14   information we've looked at today?                        14   prescribers and other stakeholders."
  15         MR. CHALOS: Object to the form.                     15        Did I read that right?
  16     Q. And if you don't have any names, then --             16     A. Yes.
  17         MR. CHALOS: Well, object to the form.               17     Q. Would you agree that in the context of this
  18     A. I actually have a long list of physicians            18   case, a KOL is an influential doctor in the field of
  19   names in Cuyahoga and the other county that you           19   pain management?
  20   mentioned, they are from call notes from another one      20        MR. CHALOS: Object to the form.
  21   of the defendants, so I don't know that they would        21     A. KOL could be a pain management, it could be
  22   reflect any activities by your company, but they          22   addiction, it could be just -- in this case, it
  23   would reflect the names of physicians who were the        23   could have been a general practitioner. It could
  24   recipients of the marketing that occurred in Ohio.        24   have been a nurse, it could have been a lot of
  25     Q. But you can't link it back to Allergan or            25   different people.

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   1     Q. Does simply being a doctor make someone a             1     A. Yes, "Amounts Paid to Key Opinion Leaders."
   2   KOL?                                                       2     Q. Okay.
   3     A. No. The --                                            3     A. Let me finish my review here.
   4        MR. CHALOS: Hold on. Object to the form;              4     Q. Sure. You just let me know when you are
   5     incomplete hypothetical.                                 5   done with your review.
   6     A. So the requirements for KOL are completely            6     A. Yes, ma'am. I'm sorry. It's taking just a
   7   subjective and they are really up to the company           7   moment but these materials were originally in a
   8   hiring the KOL or employing that strategy. The KOL         8   spreadsheet that was a lot easier to click on tabs
   9   would be -- and I saw a lot of documents in the            9   than it is to look through them.
  10   record that were evaluations of people who were           10     Q. It's easier to search too, I'm sure.
  11   being considered as key opinion leaders, of               11     A. Yep. Okay. So other than those four I
  12   databases of people who were either past, present or      12   mentioned, I don't see anything else that I can
  13   being considered for the future key opinion leaders,      13   point to at this time.
  14   and those people would be evaluated. Some of them         14     Q. Okay. And you've just identified four
  15   were eliminated because they weren't meeting up to        15   names, right?
  16   certain criteria.                                         16     A. Yes.
  17        So the whole idea of key opinion leadership          17     Q. So let's take a step back. I know earlier
  18   is one that is subjective to the company and if the       18   today you mentioned that you read -- I think you
  19   company thinks that it's a person that's an               19   said portions of Doug Boothe's testimony in this
  20   influential prescriber or other type of                   20   case. Is that accurate?
  21   practitioner, then that's up to them to decide. The       21     A. Yes.
  22   point about what they are is that they are people         22        MS. ZOLNER: Do we have his testimony
  23   who influence the opinions of others, and in my           23     available?
  24   report I refer to it -- and it was not my word, it        24        MR. CIULLO: Uh-huh.
  25   was the word of one of the defendant's witnesses --       25        MS. ZOLNER: Can we mark that? Is that

                                                     Page 602                                                           Page 604
   1   that said key opinion leaders are used to infect        1        Exhibit 31? It's Page 363.
   2   other doctors with the ideas that they have.            2            (Perri Exhibit 31 was marked for
   3     Q. Do you have any opinion as you sit here            3      identification.)
   4   today as to whether Actavis worked with key opinion 4          BY MS. ZOLNER:
   5   leaders?                                                5        Q. Dr. Perri, we are going to flip specifically
   6     A. I think the answer to that is that I do            6      to Page 363. Are you aware that Doug Boothe was the
   7   have -- I have seen evidence that Actavis did --        7      CEO of Allergan?
   8   well, Actavis I don't know specifically. Allergan       8        A. As I recall, his title was -- I can't recall
   9   or Actavis, because in my analysis I made a note to     9      his exact title.
  10   try and determine if each company did indeed work      10        Q. Okay. Well, I'll represent to you that he
  11   with key opinion leaders or have key opinion leaders 11        was the CEO. And if you could look at Page 363,
  12   in their sort of cadre of people that they went to,    12      starting at line 23, I'll read to you the question
  13   and I know that I have a schedule in my report that    13      and I'll eliminate the objections and then read the
  14   we can look at that's broken down by manufacturer. 14          answer. Line 23 of page 363 of Doug Boothe's
  15   So we can go to that if you need me to look for a      15      deposition.
  16   document that shows that.                              16            Question: Were you aware of any KOL
  17     Q. Sure. I mean, do you know if Allergan or          17        development at either Alpharma or Actavis when
  18   Actavis worked with key opinion leaders? Is that       18        you were there?
  19   part of your opinion in this case?                     19            Answer: As I previously said, we at Actavis
  20     A. I will let you know.                              20        did no KOL activity for Kadian or any of our
  21         So it appears that for Allergan I have four      21        generic approved products.
  22   entries: Dr. Chester Chorazy, David Sua, a person      22            Question: Were you aware of any KOL
  23   called Nutel and Stewart Lewis.                        23        development for any opioid products at Alpharma
  24     Q. Are you looking at -- Dr. Perri, are you          24        or Actavis?
  25   looking at Schedule 18 in your report?                 25            Let's just focus on the first part. Do you

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   1   see where he said: Actavis did no KOL activity for          1     A. Yes. It was not approved, right.
   2   Kadian or any of our generic approved products?             2     Q. Okay. So it was not approved by the FDA; is
   3     A. Yes.                                                   3   that accurate?
   4     Q. Do you have any basis to dispute that                  4     A. Not approved by the FDA and not marketed by
   5   testimony?                                                  5   the company, either one.
   6     A. No.                                                    6     Q. Okay. So that means no patient was ever
   7     Q. Now, you referred to Schedule 18 of your               7   prescribed MoxDuo?
   8   report.                                                     8         MR. CHALOS: Object to the form.
   9     A. Uh-huh.                                                9     A. I guess that's true, yes, unless somebody
  10     Q. Which is the section about amounts paid to            10   did something untoward.
  11   KOLs and you first mentioned Chester Chorazy, right?       11     Q. And your voice dropped. I think you said
  12     A. Yes.                                                  12   that MoxDuo was never marketed; is that accurate?
  13     Q. Who is Chester Chorazy?                               13         MR. CHALOS: Object to the form.
  14     A. I don't know.                                         14     A. That is my understanding, that MoxDuo didn't
  15     Q. How long has he been a KOL?                           15   ever launch.
  16     A. I don't know.                                         16     Q. Do you have any opinion as to whether
  17     Q. Who is he employed by?                                17   Actavis was involved in continuing medical education
  18     A. I don't know.                                         18   courses?
  19     Q. On what basis do you claim he was a KOL for           19     A. I don't recall.
  20   Allergan?                                                  20     Q. What about Allergan, do you have any opinion
  21     A. On the basis that he is on this list, but we          21   as to whether Allergan was involved in any
  22   can pull that document and answer those questions.         22   continuing medical education courses?
  23     Q. Do you know anything about Mr. Chorazy's              23     A. Again, I don't recall specifically Allergan.
  24   background as a KOL?                                       24     Q. Is there anything that you could use to
  25     A. No, I don't.                                          25   refresh your recollection on those?

                                                       Page 606                                                   Page 608
   1     Q. Do you know anything about his area of               1       A. Well, if I looked -- if I pulled the Kadian
   2   expertise?                                                2     marketing plans or other marketing plans, perhaps,
   3     A. As I said, his presence on this list tells           3     that would -- if they were going to do it, it would
   4   me there were amounts paid to him. That's what I          4     be, generally speaking, in the marketing plans, so
   5   know.                                                     5     we could look at that.
   6     Q. Okay. What about David Sua, Nutal, or                6       Q. Yes. Okay. So that's going to be Exhibit
   7   Stewart Lewis, would the answer be the same for all       7     Number 32.
   8   of those individuals?                                     8          (Perri Exhibit 32 was marked for
   9     A. Same answer for all of those, yes.                   9     identification.)
  10     Q. In other words, you don't know who they are         10     BY MS ZOLNER:
  11   and you don't know how long they worked as a KOL? 11              Q. I'm going to show you another document,
  12     A. I don't recognize those specific names, yes.        12     Dr. Perri. This is ALLERGAN_MDL_01104711, for the
  13     Q. Do you have any opinion as to whether               13     record. The document is titled "Healthcare
  14   Actavis worked with pain advocacy organizations to 14           Compliance Business Rules."
  15   promote opioids?                                         15       A. Okay.
  16     A. I don't think they did.                             16       Q. Have you seen this document before?
  17     Q. Do you have any opinion as to whether               17       A. It does not look familiar to me, but I've
  18   Allergan worked with pain advocacy organizations to 18          looked at a lot of documents.
  19   promote opioids?                                         19       Q. You have looked at a lot of documents.
  20     A. Same answer.                                        20       A. I'm just beginning. Let me scan through it
  21     Q. I know this morning a drug called MoxDuo            21     and --
  22   came up, and I don't want to put words in your mouth 22           Q. Sure.
  23   but according to my notes, I think you mentioned         23          MR. CHALOS: Is this number 32?
  24   MoxDuo as an example of a drug that never made it to 24              MS. ZOLNER: It is.
  25   market, correct?                                         25       A. There are certainly things in here that look

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   1   familiar to me, but again, I can't say I've seen          1   weren't planning on doing it right now.
   2   this specific document.                                   2     Q. Right. But a couple of questions ago I
   3     Q. The title of this document is "Sales                 3   think that you testified that you don't have any
   4   Representative's Interactions with Healthcare             4   recollection of whether Allergan or Actavis was
   5   Professionals & Patients," correct?                       5   involved in any continuing medical education,
   6     A. Yes.                                                 6   correct?
   7     Q. And the effective date of this document is           7         MR. CHALOS: Object to the form.
   8   January 5th, 2010?                                        8     A. I think what I said was I didn't have a
   9         MR. CHALOS: Hold on. Object to the form.            9   specific -- a specific program that I could point to
  10     He just said he's never seen this document. If         10   that -- yes, so the answer is yes.
  11     you are just asking him to read it and say that's      11     Q. What about general?
  12     what it says, that's one thing, but I don't think      12         MR. CHALOS: Object to the form.
  13     you can ask him to affirm that that's true.            13     Q. Do you have any general knowledge of any
  14     Q. Does the document represent that it was             14   continued medical education that Allergan or Actavis
  15   effective as of January 5th, 2010?                       15   was involved with?
  16     A. Yes.                                                16         MR. CHALOS: Object to the form.
  17     Q. If you could look at Page 7, under                  17     A. As I sit here right now, I can't -- I can't
  18   Educational Grants -- this is Section 12.0.              18   have a -- I don't have an answer for that because I
  19     A. Yes.                                                19   just don't remember.
  20     Q. Do you see under Section 12.2 in bold it            20     Q. Okay. Do you have any opinion as to whether
  21   says: "At this time Actavis will not be offering         21   Actavis ever hosted speakers bureaus?
  22   any educational grants?"                                 22     A. Again, I need to look at the Actavis
  23     A. It does say that in this document, yes.             23   marketing or the marketing plans because --
  24     Q. Do you have any basis to dispute that               24     Q. Have you not looked at those plans?
  25   Actavis was not offering educational grants at this      25     A. No, I have. I've just -- I've looked at

                                                     Page 610                                                        Page 612
   1   time?                                                     1   hundreds and hundreds of marketing plans and I can't
   2         MR. CHALOS: Object to the form.                     2   tell you off the top of my head what's in every
   3     A. So, I -- yeah. I -- I mean, I'm not                  3   single one of them. So if you are going to ask me a
   4   disputing that they are not involved. I don't have        4   specific question about that, I need to look at the
   5   a specific recollection of them being involved in         5   marketing plans to see if they laid out plans and
   6   these programs, but I'm just uncomfortable drawing        6   then I would know which documents or what to look at
   7   conclusions from, you know, this cursory look at          7   to know if those were actually enacted.
   8   this document that I haven't really had a chance to       8     Q. Do you have any opinion as to whether
   9   review or a document that I am not exactly sure           9   Allergan ever hosted speakers bureaus?
  10   where it fits into the big picture of things that        10     A. Same answer.
  11   I've examined in this case. I know that this --          11     Q. Okay. You just -- you don't know as you sit
  12   what this appears to be is a document where              12   here right now?
  13   Allergan/Actavis was sort of setting out the rules       13     A. I would need to look the marketing plans to
  14   of the road for a sales force that they were going       14   refresh my memory about what they did or didn't do
  15   to employ.                                               15   specifically in each category for all of the
  16     Q. Right.                                              16   categories of marketing that I put in my report.
  17     A. So it -- it looks like it's consistent with         17     Q. You understand that Allergan is one of seven
  18   what I would expect to see and it definitely says at     18   manufacturing defendants that has been sued in this
  19   this time Actavis will not be offering any               19   MDL, correct?
  20   educational grants. What I would point out is that       20         MR. CHALOS: Object to the form.
  21   offering of educational grants is typically              21     A. The list is longer than seven but I
  22   something you find in the marketing plans for            22   understand that that's what we're talking about here
  23   branded products. So the fact that they are saying       23   today.
  24   they're not going to do it at this time doesn't tell     24     Q. In preparation for your deposition today did
  25   me that they never did it. It just says they             25   you do anything to try to determine which

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